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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )                8:14CR54
                                                  )
       v.                                         )                 ORDER
                                                  )
JOSHUA M. WILDENRADT,                             )
ROBERT D. BRYAN, and                              )
RUSSELL HARRIS,                                   )
                                                  )
                       Defendants.                )

       This matter is before the court on the motion to continue by defendant Joshua M.
Wildenradt (Wildenradt) (Filing No. 93). Wildenradt seeks a continuance of the trial scheduled for
November 10, 2014. Wildenradt has submitted an affidavit in accordance with paragraph 9 of the
progression order whereby Wildenradt consents to the motion and acknowledges he understands
the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No. 94).
Wildenradt's counsel represents that government's counsel has no objection to the motion. Upon
consideration, the motion will be granted, and trial will be continued as to all defendants.


       IT IS ORDERED:
       1.      Wildenradt's motion to continue trial (Filing No. 93) is granted.
       2.      Trial of this matter as to all defendants is re-scheduled for January 5, 2015,
before Senior Judge Joseph F. Bataillon and a jury. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendants in a speedy trial.
The additional time arising as a result of the granting of the motion, i.e., the time between October
31, 2014, and January 5, 2015, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason that defendants' counsel require
additional time to adequately prepare the case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 31st day of October, 2014.
                                                      BY THE COURT:
                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
